                 Exhibit 2




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                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                           Civil Action No. 3:20-CV-00019-FDW

 WILLIAM F. MACKEY,                             )
                                                )
                Plaintiff,                      )
                                                )
 vs.                                            )
                                                )
                                                )    PLAINTIFF’S SUPPLEMENTAL RULE
                                                )        26A INITIAL DISCLOSURES
 WELLS FARGO BANK,                              )
                                                )
                Defendant.                      )
                                                )
                                                )

       NOW COMES, Plaintiff, William F. Mackey (“Plaintiff”), by and through undersigned

counsel and pursuant to Rule 26(a)(1)(A) of the Federal Rules of Civil Procedure and provides the

following supplemental initial disclosures. All disclosures are based on information that is

currently in Plaintiff’s possession. Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure,

Plaintiff reserves his right to revise, correct, supplement, or clarify these disclosures should

additional information become known to Plaintiff between now and the time of trial. Plaintiff

further reserves the right to present witnesses and introduce evidence and documents that may be

disclosed in supplemental disclosures, become known through the discovery process, or be

disclosed via other pre-trial disclosures. Plaintiff further reserves his rights afforded by attorney-

client privilege and the work-product doctrine. Any disclosure not supplemented remains the same

as Plaintiff’s Initial Disclosures Pursuant to FRCP 26(a)(1) dated March 18, 2020.

Rule 26(a)(1)(A)(iii): A computation of each category of damages claimed by the disclosing

party- who must also make available for inspection and copying as under Rule 34 the




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documents or other evidentiary material, unless privileged or protected from disclosure, on

which each computation is based, including materials bearing on the nature and extent of

the injuries suffered.

Disclosure:

       a)     Back Pay: $69,061.64. Mr. Mackey earned $330,878.00 from 2010-2019. If he

       had been paid at the median pay range he would have earned $399,939.64. This amount

       does not account for the promotions and accompanying increased wages Mr. Mackey

       would have received had his salary not barred him from being eligible for certain

       promotion opportunities.

                Year              Salary             2% Raise              Total Salary

                 Y1        $41,000 (midpoint)            --                  $41,000

                 Y2           $41,000.00              $820.00                $41,820

                 Y3           $41,820.00              $836.40               $42,656.40

                 Y4           $42,656.40              $853.23               $43,509.53

                 Y5           $43,509.53              $870.19               $44,379.72

                 Y6           $44,379.72              $887.59               $45,267.31

                 Y7           $45,267.31              $905.35               $46,172.66

                 Y8           $46,172.66              $923.45               $47,096.05

                 Y9           $47,096.05              $941.92               $48,037.97


                                                                    Total Pay: $399,939.64



       b)     Retirement Benefits.     Because the amount Wells Fargo contributed to an

       employee’s 401K was equal to 6% of the employee’s salary, Mr. Mackey’s benefit were




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      affected by the discrimination as well. From 2010-2019, Wells Fargo contributed an

      amount less than $23,634.09 when it would have contributed $23,634.09 if it had started

      Mr. Mackey at the midpoint. Mr. Mackey is entitled to the difference between these

      amounts.

               Year                 Salary                        6% Contribution

                 Y1         $41,000.00 (midpoint)                      $2,460.00

                 Y2               $41,000.00                           $2,460.00

                 Y3               $41,820.00                           $2,509.20

                 Y4               $42,656.40                           $2,559.38

                 Y5               $43,509.53                           $2,610.57

                 Y6               $44,379.72                           $2,662.78

                 Y7               $45,267.31                           $2,716.04

                 Y8               $46,172.66                           $2,770.36

                 Y9               $47,096.05                           $2,825.76

                                                               Total Contribution: $23,634.09



Supplemental Disclosure:

   a) Back Pay: Between 2010 and the end of 2020, Plaintiff estimates he will have been paid a

      total of $428,117.00. Between 2010 and 2015, Plaintiff estimates he should have been paid

      $263,800.00. Between 2016 and 2020, Plaintiff estimates he should have been paid




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       $284,600.00. Accordingly, between 2010 and the end of 2020, Plaintiff estimates he should

       have been paid $584,400.00. Thus, Plaintiff’s total estimated back pay award is

       $120,283.00 plus an estimated 2% increase for each year between 2010 and 2020.

   b) Retirement Benefits: Because the amount Wells Fargo contributed to an employee’s 401K

       was equal to 6% of the employee’s salary, Plaintiff’s benefits were affected by Defendant’s

       discrimination as well. Between 2010 and the end of 2020, Plaintiff estimates Wells Fargo

       will have paid $25,687.02 in benefits. Between 2010 and 2015, Plaintiff estimates Wells

       Fargo should have paid $15,828.00 in benefits. Between 2016 and 2020, Plaintiff estimates

       Wells Fargo should have paid $17,076.00 in benefits. As such, Plaintiff’s total estimated

       back pay for unpaid retirement benefits is $7,216.98 plus 6% of an estimated 2% increase

       in salary for each year between 2010 and 2020.

Plaintiff reserves the right to further supplement and amend any of the above disclosures as

permitted under the Federal Rules of Civil Procedure.

              This is the 7th day of October, 2020.

                                                            HALL & DIXON, PLLC

                                                            /s/Alesha S. Brown
                                                            Alesha S. Brown, NC Bar # 53000
                                                            Hall and Dixon, PLLC
                                                            725 East Trade Street, Suite 115
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                                 CERTIFICATE OF SERVICE

        The undersigned does hereby certify that the foregoing PLAINTIFF’S
SUPPLEMENTAL RULE 26A INITIAL DISCLOSURES was delivered to each of the below
listed person(s) this date via electronic mail and by placing the same in an official depository under
the exclusive care and custody of the United States Postal Service addressed as follows:

                                        Frederick T. Smith
                                         Ethan Goemann
                                       Seyfarth Shaw LLP
                                121 West Trade Street, Suite 2020
                                      Charlotte, NC 28202
                                      fsmith@seyfarth.com
                                    egoemann@seyfarth.com
                              Attorneys for Defendant Wells Fargo


       This the 7th day of October, 2020

                                               HALL & DIXON, PLLC


                                               /s/ Alesha S. Brown
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